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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA              §
                                      §
      v.                              §      Case No. 4:22-cr-612
                                      §
CONSTANTINESCU, et al.                §
                                      §
      Defendants.                     §


                               [Proposed] ORDER

      Upon consideration of Defendant’s Third Motion to Compel (ECF No. 328) and the

United States’ response, the Court hereby ORDERS that the Motion is DENIED.



      It is so ORDERED at Houston, Texas on this ___ day of ___________, 2023.




                                              ________________________________
                                                     ANDREW S. HANEN
                                              UNITED STATES DISTRICT JUDGE
